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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


JAMES CURTIS,                                 :
                                              :     CIVIL ACTION
      Plaintiff,                              :
                                              :     FILE NO.1:14-CV-00451-LMM
vs.                                           :
                                              :
METROPOLITAN PROPERTY AND                     :
CASUALTY INSURANCE                            :
COMPANY,                                      :
    Defendant.                                :


                        STIPULATION OF DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff files

this stipulation of dismissal, signed by all parties that have appeared, dismissing

this action with prejudice.



      Respectfully submitted this 29th day of July 2015.



                                              /s/ Jordan M. Jewkes
                                              James H. Webb, Jr.
                                              Bar No. 744275
                                              Jordan M. Jewkes
                                              Bar No. 940491
                                              Attorneys for Plaintiff

                                              WEBB & TAYLOR, LLC
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                                   /s/ Edward C. Bresee, Jr.
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                        CERTIFICATION OF FONT

     This certifies that pursuant to Local Rule 5.1 that the above and foregoing

has been prepared using Times New Roman font, 14 point.

     This 29th day of July 2015.

                                             Respectfully submitted,


                                             /s/ Jordan M. Jewkes
                                             James H. Webb, Jr.
                                             Bar No. 744275
                                             Jordan M. Jewkes
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                         CERTIFICATE OF SERVICE

      This is to certify that undersigned counsel for plaintiff in the above-named

action filed the foregoing STIPULATION OF DISMISSAL with the Clerk of the

Court using the CM/ECF system, which will automatically send email notification

of such filing to the following attorneys of record:

      Edward C. Bresee, Jr.
      Arthur J. Park
      Mozley, Finlayson & Loggins, LLP
      One Premier Plaza, Suite 900
      5605 Glenridge Drive
      Atlanta, Georgia 30342

      This 29th day of July, 2015.

                                            WEBB & TAYLOR, LLC

                                             /s/Jordan M. Jewkes
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